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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 ALLSTATES WORLDCARGO, INC.,                       CIVIL ACTION NO. 3:23-cv-20923-MAS-
                                                   JBD
                        Plaintiff,
                                                   JUDGE MICHAEL A. SHIPP
                v.
                                                   PROPOSED ENTRY OF DEFAULT
 MRKJ, INC. d/b/a REVOSPIN,
                                                   JUDGMENT BY THE CLERK
                        Defendant.



       Having considered the Plaintiff Allstates WorldCargo, Inc.’s Request for Entry of Default

Judgment by the Clerk against Defendant MRJK, Inc. d/b/a RevoSpin, along with the Affidavit

and Exhibit in support of Plaintiff’s Request, the Clerk finds that Plaintiff’s damages are for a sum

certain amount, and the Clerk hereby enters default judgment against Defendant in the amount of

One Hundred Sixty Thousand Six Hundred Forty-Eight Dollars and Eighty-Four Cents

($160,648.84), plus post-judgment interest.



Dated: __11/21/23____                 MELISSA E. RHOADS, ESQ., Clerk of Court




                                      By:            s/ Ashley Vargas

                                              Deputy Clerk
